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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ASPEN SPECIALTY INSURANCE COMPANY,

                                                     Plaintiff.
v.                                                                    No. 1:21-cv-3838

NEW CROWN HOLDINGS, LLC, and DALE
PAULSON
Individually and on behalf of all others similarly situated,

                                                 Defendants.

                      ASPEN SPECIALTY INSURANCE COMPANY’S
                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Aspen Specialty Insurance Company (“Aspen”), by and through its counsel,

submits this Complaint for Declaratory Judgment against Defendants New Crown Holdings,

LLC (“New Crown”) and Dale Paulson, individually and on behalf of all others similarly

situated (“Paulson”), stating as follows:

                                  NATURE OF THE ACTION

       1.      This is an action for declaratory judgment, brought pursuant to 28 U.S.C. §§ 2201

and 2202, for the purpose of determining Aspen’s rights and legal obligations under a

commercial general liability insurance policy to which New Crown is an insured (the “Aspen

Policy”) as it relates to a lawsuit entitled Dale Paulson, et al v. New Crown Holdings, LLC, Case

No. 2020 CH 07526, pending in the Circuit Court of Cook County, Illinois (the “Paulson BIPA

Class Action”). The underlying Paulson BIPA Class Action seeks declaratory, injunctive and

equitable relief as well as statutory damages and attorneys’ fees alleging violations of Illinois’

Biometric Information Privacy Act, 740 ILCS §14/1, et seq. (“BIPA”) by the tracking of Holiday

Inn franchise employee time through fingerprint scans.
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       2.      Aspen seeks a declaration that it owes no duty to defend or indemnify New

Crown with respect to the Paulson BIPA Class Action because that Complaint does not assert

any claims within the coverage of the Aspen Policy.

                                          THE PARTIES

       3.      Aspen Specialty Insurance Company is a corporation organized under the laws of

the State of North Dakota with its principal place of business in Rocky Hill, Connecticut.

       4.      New Crown Holdings, LLC is an Illinois limited liability company with its

principal place of business in Gurnee, Illinois. New Crown’s sole member is a foreign

corporation based in Hong Kong.

       5.      Dale Paulson is a person and citizen of the State Illinois. He is the plaintiff in the

underlying Paulson BIPA Class Action, who brings claims individually and on behalf of all

others similarly situated. Mr. Paulson is named in this action solely to the extent he may be

deemed a necessary party. Aspen seeks no separate relief or judgment against Mr. Paulson (or

the putative class he seeks to represent) and seeks only to bind him (and the putative class he

seeks to represent) to the outcome of this lawsuit.

                                 JURISDICTION AND VENUE

       6.      This Court has jurisdiction over this action, pursuant to 28 U.S.C. §§ 2201 and

2202, insofar as Aspen seeks a declaration of its rights and duties under the insurance policies at

issue. Jurisdiction is also conferred by 28 U.S.C. § 1332(a), as complete diversity exists between

the parties and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

       7.      Venue is proper in this District, pursuant to 28 U.S.C. § 1391(a)(2), because a

substantial part of the events giving rise to the claim herein occurred within this District.



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        8.      There is a genuine dispute and actual controversy, over which this Honorable

Court has jurisdiction, between Aspen and the New Crown concerning their respective rights,

duties and obligations for which Aspen requests a declaration of rights and obligations under the

Aspen Policy. The declaratory judgment sought will settle the controversy between the parties.

                           THE PAULSON BIPA CLASS ACTION

        9.      On December 30, 2020 Dale Paulson, individually and on behalf of all others

similarly situated, filed a putative class action alleging violations of Illinois’ Biometric

Information Privacy Act (“BIPA”) against New Crown in the Circuit Court of Cook County,

Illinois – Chancery Division under Case No. 2020 CH 07526 (“Paulson BIPA Class Action”). A

copy of the Paulson BIPA Class Action Complaint is attached hereto as Exhibit 1.

        10.     New Crown owns, operates and manages a Holiday Inn franchise in Gurnee,

Illinois. Id. at ¶1.

        11.     Paulson alleges he worked as an engineer for New Crown during 2015 and until

the end of March 2016. Id. at ¶45.

        12.     Paulson alleges that, as an employee of New Crown, he was enrolled in an

employee database using a scan of his fingerprint and that New Crown used this database to

track employee time. Id. at ¶2.

        13.     Paulson also alleges that New Crown did not inform him that it was collecting and

storing his fingerprint biometric information, did not advise of any biometric data retention

policy, and did not provide Paulson with a written release with respect to collecting and storing

of biometric data. Id. at ¶¶50-52.

        14.     Paulson also alleges that New Crown did not obtain consent for any transmission

to third parties of his biometric information (and that of others) and, “[t]o the extent Defendant

uses outside vendors to operate its biometrics program in conformance with biometric industry

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practice, Defendant has also violated BIPA on each occasion it transmits such information to

third parties.” Id. at ¶53.

        15.     The proposed class in the Paulson BIPA Class Action include: “[a]ll individuals

whose biometrics were captured, collected, obtained, stored or used by Defendant within the

state of Illinois at any time within the applicable limitations period.” Id. at ¶57.

        16.     The Paulson BIPA Class Action Complaint sounds in three violations of BIPA

against New Crown: (i) Violation of 740 ILCS § 14/15(a): Failure to Institute, Maintain and

Adhere to Publicly-Available Retention Schedule; (ii) Violation of 740 ILCS § 14/15(b): Failure

to Obtain Informed Written Consent and Release Before Obtaining Biometric Identifiers or

Information; and (iii) Violation of 740 ILCS § 14/15(d): Disclosure of Biometric Identifiers and

Information Before Obtaining Consent.

        17.     The Paulson BIPA Class Action Complaint seeks an order: 1) certifying the case

as a class action; 2) declaring that New Crown violated BIPA; 3) awarding statutory damages of

$5000 for the intentional/reckless violation of BIPA or, alternatively, statutory damages of $1000

per negligent violation; 4) declaring that New Crown’s actions were intentional and/or reckless;

5) awarding injunctive and other equitable relief; and 6) awarding Plaintiff and the class

reasonable attorneys’ fees and costs.

                                   THE ASPEN CGL POLICY

        18.     Aspen issued one Commercial General Liability policy to first Named Insured

Crown Hotels LLC and under which New Crown is also a Named Insured under policy no.

CR007KG18 effective January 22, 2018 to January 22, 2019 (the “Aspen Policy”). A certified

copy of the Aspen Policy is attached hereto as Exhibit 2.




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       19.    The Aspen Policy is subject to an endorsement limiting coverage to designated

premises or projects, including 6161 West Grand Avenue in Gurnee, Illinois – the location at

issue in the Paulson BIPA Class Action. Id. at ASPEN000087; Ex. 1 at ¶1.

       20.    The Aspen Policy is subject to the following Insuring Agreement applicable to

Coverage A – Bodily Injury and Property Damage Liability:

              a.     We will pay those sums that the insured becomes legally obligated to pay
                     as damages because of “bodily injury” or “property damage” to which this
                     insurance applies. We will have the right and duty to defend the insured
                     against any “suit” seeking those damages. However, we will have no duty
                     to defend the insured against any “suit” seeking damages for “bodily
                     injury” or “property damage” to which this insurance does not apply. We
                     may, at our discretion, investigate any “occurrence” and settle any claim
                     or “suit” that may result.***

                                          *       *       *
              b.     This insurance applies to bodily injury” and “property damage” only if:

                     (1)     The “bodily injury” or “property damage” is caused by an
                             “occurrence” that takes place in the “coverage territory”;
                     (2)     The “bodily injury” or “property damage” occurs during the policy
                             period; ***

                                           *       *      *
Ex. 2 at ASPEN000010.

       21.    The Aspen Policy is subject to the following Insuring Agreement applicable to

Coverage B – Personal and Advertising Injury Liability:

       a.     We will pay those sums that the insured becomes legally obligated to pay as
              damages because of “personal and advertising injury” to which this insurance
              applies. We will have the right and duty to defend the insured against any “suit”
              seeking those damages. However, we will have no duty to defend the insured
              against any “suit” seeking damages for “personal and advertising injury” to which
              this insurance does not apply.***

                                           *       *      *

       b.     This insurance applies to “personal and advertising injury” caused by an offense
              arising out of your business but only if the offense was committed in the
              “coverage territory” during the policy period.


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                                           *       *       *
Ex. 2 at ASPEN000015.


      22.    The Aspen Policy is subject to the following Insuring Agreement applicable to

Coverage C – Medical Payments:

      a.     We will pay medical expenses as described below for “bodily injury” caused by
             an accident***

Ex. 2 at ASPEN000017.

      23.    The Aspen Policy is subject to the following definitions:

      3.     “Bodily injury” means bodily injury, sickness or disease sustained by a person,
             including death resulting from any of these at any time.

                                       *       *       *


      13.    “Occurrence” means an accident, including continuous or repeated exposure to
             substantially the same general harmful conditions.

      14.    “Personal and advertising injury” means injury, including consequential “bodily
             injury”, arising out of one or more of the following offenses:

                                       *       *       *

             c. Oral or written publication, in any manner, of material that violates a person’s
                right of privacy;

                                       *       *       *
      17.    “Property damage” means:
             a.     Physical injury to tangible property, including all resulting loss of use of
                    that property. All such loss of use shall be deemed to occur at the time of
                    the physical injury that caused it; or
             b.     Loss of use of tangible property that is not physically injured. All such
                    loss of use shall be deemed to occur at the time of the “occurrence” that
                    caused it.
                                           *       *       *

             For the purposes of this insurance, electronic data is not tangible property.

                                           *       *       *


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Ex. 2 at ASPEN000022-24.

       24.    The Aspen Policy is subject to the following exclusions under Coverage A –

Bodily Injury and Property Damage Liability:

2.     Exclusions

       This insurance does not apply to:


                                        *       *       *

       e.     Employer’s Liability
              “Bodily injury” to
              (1)    An “employee” of the insured arising out of and in the court of
                     (a) Employment by the insured; or
                     (b) Performing duties related to the conduct of the insured’s business***


                                        *       *       *

       q.     Recording And Distribution Of Material Or Information In Violation Of
              Law
              “Bodily injury” or “property damage” arising directly or indirectly out of any
              action or omission that violates or is alleged to violate:
              (1)     The Telephone Consumer Protection Act (TCPA), including any
                      amendment of or addition to such law;
              (2)     The CAN-SPAM Act of 203, including any amendment of or addition to
                      such law;
              (3)     The Fair Credit Reporting Act (FCRA), and any amendment of or addition
                      to such law, including the Fair and Accurate Credit Transactions Act
                      (FACTA); or
              (4)     Any federal, state or local statute or ordinance or regulation, other than the
                      TCPA, CAN-SPAM Act of 2003 or FCRA and their amendments and
                      additions, that addresses, prohibits, or limits the printing, dissemination,
                      disposal, collecting, recording, sending, transmitting, communication or
                      distribution of material or information.

                                        *       *       *

Ex. 2 at ASPEN000011-15.




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       25.     The Aspen Policy is subject to the following exclusions under Coverage B –

Personal and Advertising Injury Liability:

2.     Exclusions

       This insurance does not apply to:

       a.      Knowing Violation Of Rights Of Another

               “Personal and advertising injury” caused by or at the direction of the insured with
               the knowledge that the act would violate the rights of another and would inflict
               “personal and advertising injury.”

                                         *       *      *

       c.      Material Published Prior To Policy Period
               “Personal and advertising injury” arising out of oral or written publication, in any
               manner, of material whose first publication took place before the beginning of the
               policy period.

                                         *       *      *

       p.      Recording And Distribution Of Material Or Information In Violation Of
               Law
               “Personal and advertising injury” arising directly or indirectly out of any action or
               omission that violates or is alleged to violate:
               (1)    The Telephone Consumer Protection Act (TCPA), including any
                      amendment of or addition to such law;
               (2)    The CAN-SPAM Act of 203, including any amendment of or addition to
                      such law;
               (3)    The Fair Credit Reporting Act (FCRA), and any amendment of or addition
                      to such law, including the Fair and Accurate Credit Transactions Act
                      (FACTA); or
               (4)    Any federal, state or local statute or ordinance or regulation, other than the
                      TCPA, CAN-SPAM Act of 2003 or FCRA and their amendments and
                      additions, that addresses, prohibits, or limits the printing, dissemination,
                      disposal, collecting, recording, sending, transmitting, communication or
                      distribution of material or information.

                                         *       *      *

Ex. 2 at ASPEN000015-16.

       26.     The Aspen Policy is subject to the following endorsement:

                     EMPLOYMENT-RELATED PRACTICES EXCLUSION

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                                         *            *      *

      A.    The following exclusion is added to Paragraph 2., Exclusions of Section I –
            Coverage A – Bodily Injury and Property Damage Liability:

      B.    The following exclusion is added to Paragraph 2., Exclusions of Section I –
            Coverage B – Personal and Advertising Injury Liability:

            This insurance does not apply to:

            “Bodily injury” to”:         //         “Personal and advertising injury” to:

            (1)    A person arising out of any:

                   (a)    Refusal to employ that person
                   (b)    Termination of that person’s employment; or
                   (c)    Employment-related practices, policies, acts or omissions, such as
                          coercion, demotion, evaluation, reassignment, discipline,
                          defamation, harassment, humiliation, discrimination or malicious
                          prosecution directed at that person; ***
                                        *       *       *

Ex. 2 at ASPEN000073.

      27.   The Aspen Policy is also subject to the following endorsement:

          EXCLUSION – ACCESS OR DISCLOSURE OF CONFIDENTIAL OR
       PERSONAL INFORMATION AND DATA-RELATED LIABILITY – LIMITED
                 BODILY INJURY EXCEPTION NOT INCLUDED

      A.    Exclusion 2.p. of Section I. – Coverage A – Bodily Injury And Property
            Damage Liability is replaced by the following:

      2.    Exclusions

            This insurance does not apply to:

            p.     Access Or Disclosure Of Confidential Or Personal Information And
                   Data-related Liability

                   Damages arising out of:

                   (1)    Any access to or disclosure of any person's or organization's
                          confidential or personal information, including patents, trade
                          secrets, processing methods, customer lists, financial information,


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                                    credit card information, health information or any other type of
                                    nonpublic information; or
                             (2)    The loss of, loss of use of, damage to, corruption of, inability to
                                    access, or inability to manipulate electronic data.

                             This exclusion applies even if damages are claimed for notification costs,
                             credit monitoring expenses, forensic expenses, public relations expenses
                             or any other loss, cost or expense incurred by you or others arising out of
                             that which is described in Paragraph (1) or (2) above.

                             As used in this exclusion, electronic data means information, facts or
                             programs stored as or on, created or used on, or transmitted to or from
                             computer software, including systems and applications software, hard or
                             floppy disks, CD-ROMs, tapes, drives, cells, data processing devices or
                             any other media which are used with electronically controlled equipment.

             B.     The following exclusion is added to Paragraph 2., Exclusions of Section I –
                    Coverage B – Personal and Advertising Injury Liability:

             2.     Exclusions

                    This insurance does not apply to:

                    Access Or Disclosure Of Confidential Or Personal Information

                    “Personal or advertising injury” arising out of any access to or disclosure of any
                    person’s or organization’s confidential or personal information, including patents,
                    trade secrets, processing methods, customer lists, financial information, credit
                    card information, health information or any other type of nonpublic information.

                    This exclusion applies even if damages are claimed for notification costs, credit
                    monitoring expenses, forensic expense, public relations expenses or any other
                    loss, cost or expense incurred by you or other arising out of any access to or
                    disclosure of any person’s or organization’s confidential or personal information.

                                                  *        *     *
      Ex. 2 at ASPEN000069.

28.                  NEW CROWN’S NOTICE TO ASPEN OF THE PAULSON BIPA CLASS

                                                  ACTION

             29.    New Crown provided its first notice of the Paulson BIPA Class Action to Aspen

      on February 5, 2021.



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       30.      Aspen denied coverage on April 22, 2021. A copy of the denial letter is attached

hereto as Exhibit 3.


                          COUNT I – DECLARATORY JUDGMENT
             No coverage for the Paulson BIPA Class Action Under the Aspen Policy.

       31.      Aspen re-alleges the foregoing paragraphs as though fully set forth herein.

       32.      No coverage is available to New Crown for its claim under the Aspen Policy

because:

             a. There is no coverage available for Coverage A – Bodily Injury and
                Property Damage Liability because the Paulson BIPA Class Action does
                not allege “bodily injury” or “property damage” caused by an
                “occurrence” as those terms are defined by the Aspen Policy. And to the
                extent “bodily injury” or “property damage” is deemed alleged, the
                Paulson BIPA Class Action alleges such occurred in 2015 and 2016,
                which is prior to the inception of the Aspen Policy.

             b. Various exclusions under Coverage A emphasize the lack of coverage for
                the Paulson BIPA Class Action

                     i. Employer’s Liability Exclusion – 2.e.;
                    ii. Recording And Distribution Of Material Or Information In
                        Violation Of Law Exclusion – 2.q.;
                   iii. Employment-Related Practices Exclusion Endorsement; and
                   iv. Exclusion – Access Or Disclosure Of Confidential Or Personal
                        Information And Data-Related Liability – Limited Bodily Injury
                        Exception Not Included Endorsement.

             c. There is no coverage available for Coverage B – Personal and Advertising
                Injury for the Paulson BIPA Class Action because, to the extent the
                collection of fingerprint information invades Paulson’s (or any other
                employee’s) right to privacy, there are no allegations of oral or written
                publication, especially to a third party, of such information so as to satisfy
                the requirements of Coverage B. And to the extent “personal and
                advertising injury” is deemed alleged, the Paulson BIPA Class Action
                alleges such occurred in 2015 and 2016, which is prior to the inception of
                the Aspen Policy.

             d. Various exclusions under Coverage B emphasize the lack of coverage for
                the Paulson BIPA Class Action



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                       i. Knowing Violation Exclusion – 2.a.;
                      ii. Material Published Prior To Policy Period Exclusion – 2.d.;
                     iii. Recording And Distribution Of Material Or Information In
                          Violation Of Law Exclusion – 2.p.;
                     iv. Employment-Related Practices Exclusion Endorsement; and
                      v. Exclusion – Access Or Disclosure Of Confidential Or Personal
                          Information And Data-Related Liability – Limited Bodily Injury
                          Exception Not Included Endorsement.

               e. There is no coverage available for Coverage C – Medical Payments
                  (which is derivative of Coverage A) because the Paulson BIPA Class
                  Action does not allege “bodily injury.”

          WHEREFORE, Aspen Specialty Insurance Company prays that this Court:

          1.      Declare and adjudicate that New Crown’s claim is not covered by the Aspen

Policy.

          2.      Declare and adjudicate that Aspen owes no duty to defend or indemnify New

Crown in the Paulson BIPA Class Action.

          3.      Grant such other and further relief as shall be just and proper

                                                 Respectfully submitted,

Dated July 19, 2021                              ASPEN SPECIALTY INSURANCE COMPANY



                                                 /s/ Elise D. Allen
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